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                IN THE UNITED STATES BANKRUPTCY COURT
                     WESTERN DISTRICT OF MISSOURI
                               (Springfield)

In re:                                   )
                                         )
417 Rentals, LLC                         )          Case No. 17-60935-can11
                                         )
                             Debtor      )                Chapter 11
                                         )
                                         )
City of Springfield, Missouri            )
                                         )
                            Movant       )

SPRINGFIELD’S OBJECTIONS TO FIRST AMENDED PLAN AND FIRST

                    AMENDED DISCLOSURE STATEMENT


         Springfield objects to confirmation of the “First Amended Plan of

Reorganization of Debtor Under Chapter 11 of the Bankruptcy Code” (Plan) and

objects to the “First Amended Disclosure Statement Filed by 417 Rentals, LLC”

(Disclosure).


                                  The Big Picture


         The purpose of Chapter 11 reorganization “is to restructure a business's

finances so that it may continue to operate, provide its employees with jobs, pay its

creditors, and produce a return for its stockholders.” H.R.Rep. No. 595


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(1975), reprinted in 1978 U.S.C.C.A.N. 6179. In re Cedar Shore Resort, Inc., 235

F.3d 375, 379 (8th Cir. 2000).


      This reorganization does not save jobs or produce returns for stockholders.

Instead, the plan proposes to continue a business that produces dangerous buildings,

nuisance conditions, overgrowth, and unlivable properties. Debt restructuring will

only place a band-aid on a gaping wound.


      This reorganization is about one man--Chris Gatley. As 417’s sole member,

he ran the company before filing this case and anticipates running it “post-

confirmation.” (Plan, p. 4, § IV. Future Management.) Mr. Gatley’s operation has

been a public menace for years. The menace has continued since 417 filed this case

and, if allowed to do so, will continue. Therefore, confirmation is inconsistent with

public policy. 11 USC § 1129(a)(5)(A)(ii).


      Before filing for bankruptcy, Mr. Gatley’s operations in Springfield

generated:


         • 843 nuisance-abatement issues, which include yards containing trash,

             improperly-stored inoperable vehicles, broken furniture, rotting

             materials, scrap metal, automobile parts, etc. (Doc 195: Exhibits A and

             B);
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         • 405 overgrowth issues (Doc 195: Exhibits C and D);

         • numerous dangerous-building issues, which include open and vacant

             structures exposed to the elements, vermin, and vagrants; burned-out,

             dangerous structures; and, insect-saturated rental properties (Doc 195:

             Exhibits E and F);

         • 307 property-maintenance issues, which include sewage leaking into

             basements, rotting soffits and gutters in disrepair, broken appliances,

             caved-in roofs, water-heater issues, etc. (Doc 195: Exhibits G and H).

         • For the above points, see Doc 195 and sample photographic Exhibits

             I, J, and K.


      417’s operation continues as a public menace. Springfield’s data concerning

417 now show 946 nuisance-abatement issues, 454 overgrowth issues, numerous

dangerous-building properties, and 335 property-maintenance issues. Exhibits A

through D.


                                  City Resources


      Again, this reorganization benefits one person—Chris Gatley. He has

operated under his own name and as 417. Apparently, he is now also operating under

NewVacancy, LLC and 417.rent. If the court confirms this reorganization, the public

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will pay dearly. More public resources will be allocated to holding Mr. Gatley

accountable to public policy than will be allocated to any other landlord in the city.


      Beginning June 12, 2002, for dangerous buildings alone, Springfield has

mailed or recorded 383 notices concerning 417’s operations. Exhibit E-1.

Springfield spends public money to record a lis pendens every time there are

administrative proceedings concerning a dangerous building. Springfield also pays

for certified mailing for many notices that go out. Regular postage adds up too.

Inspectors post at least two notices on properties and spend much staff time tending

to 417 properties. The city also pays for title reports for trash-nuisance abatements

and dangerous-building proceedings.


      For dangerous buildings alone, from the bankruptcy filing on August 25, 2017

to date, Springfield has mailed or recorded 180 notices concerning 417’s operations.

Exhibit E-2. 417 routinely ignores notices, hearings, and responsibility. At a time

when 417 should be on its best behavior trying to make it through confirmation,

things are worse.




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                         Neglected Dangerous Buildings


      In addition to the dangerous buildings listed as exhibits in Springfield’s

“Request for Administrative Expenses” and incorporated here by reference, 417 has

also neglected other dangerous buildings. Exhibits F-1 through F-12.


                         Neglected Nuisance Abatement


      In addition to the nuisance-abatement properties listed as exhibits in

Springfield’s “Request for Administrative Expenses” and incorporated here by

reference, 417 has also neglected other nuisance-abatement properties. Exhibits G-

1 through G-12.


                                   Citizen Abuse


Theresa Radloff


      Theresa Radloff lives in a 417 property. The roof leaks “so bad it floods the

room if it rains hard enough.” After calling, texting, and in-person complaints, there

has been no repair for six months. Black mold is growing on the ceiling. Exhibit 1.




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Judy Stalker


      Judy Stalker is 63 years old. She is hearing- and seeing-impaired. She lived in

a Gatley house, which had roaches, mice, and termites. She “lost everything and had

to start over at the age of 63.” Exhibit 2. The furnace became faulty and, after four

months of complaints, there was no repair.


http://www.kspr.com/content/news/Springfield-landlord-accused-of-violating-a-

tenants--411018105.html Exhibit 3.


Jonathan Richter


      Jonathan Richter paid to rent a Gatley property, but when it came time to move

in, the home was unfit for human habitation.


http://www.kspr.com/content/news/Springfield-man-wants-his-money-back-says-

Gatley-owned-property-unfit-to-live-in-474004843.html Exhibit 4.


Robin Hurtado


      Robin Hurtado paid a deposit to move into a Gatley property. “The place was

still filthy.” “There’s pee stains over there where someone had come in and peed in

the closet.”


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http://www.kspr.com/content/news/417-Rentals-evicts-family-who-never-moved-

into-an-unfit-home-449840113.html Exhibit 5.


Melissa Matthews


      Melissa Matthews is a neighbor to a Gatley property. She watched a pile of

trash grow everyday on the property. Police were called to the property 19 times.

She took turns with others to watch at night for concern about her children and

grandchildren.


http://www.kspr.com/content/news/Squatters-take-over-a-Springfield-

neighborhood-447825743.html Exhibit 6.


Kasey Ringwood


      Kasey Ringwood was living in a Gatley house in poor condition. The water

heater lacked a proper drainage system. The breaker box was a hazard. The missing

garbage disposal’s wires were wrapped and nutted leaving an electrocution hazard.

There was standing water in the basement to draw bugs. Mice were a problem.


http://www.kspr.com/content/news/Springfield-works-to-hold-landlords-

accountable-for-rental-properties-433968853.html Exhibit 7 ;



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and,      http://www.kspr.com/content/news/417-Rentals-not-making-repairs-over-

charging-tenant-429795103.html Exhibit 8.


Anthony Tucker


       Anthony Tucker lived in a Gatley property. He was tossed out without notice,

warning, or other process.


http://www.kspr.com/content/news/417-Rentals-tosses-man-out-trashes-

belongings-without-notice-414305153.html Exhibit 9.


The Insect House


       The insect house was a 417 property at 2100 N. Elizabeth. Its infestation

spread to the neighborhood. Residential Property Inspector Joe Curless received

written complaints about it from these neighbors:


       Dale Milam at 2074 N. Elizabeth. Exhibits 10 and 11.


       Heidi Hart at 2068 N. Elizabeth. Exhibit 12.


       Trisha Edmonds at 2110 N. Elizabeth Ave. Exhibit 13.


       Brandon Moore at 2073 N. Elizabeth. Exhibit 14.


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      Lara Fletcher at 2101 N. Elizabeth. Exhibit 15.


                                 Real-Estate Taxes


      For 2015, 2016, and 2017, 417 allowed tax delinquencies to accumulate on its

properties to the point of having to redeem them from delinquent-real-estate-tax

sales. Exhibit 16. This business practice is costly and is one more symptom of an

enterprise that lacks viability and should not continue.


                             Accountability Elements


      The Plan and Disclosure set forth a truncated version of the accountability

elements Springfield proffered to 417 in negotiations. It is insufficient. If, somehow,

417 continues in operation, the accountability elements should include:


          1. Notice Evasion. Chris Gatley will not evade any city notices by

             refusing to sign for certified mail, change any address where mail can

             reach him, or use any other device for dodging notice.

          2. Notice Address. Chris Gatley will personally:

                a. receive, and sign when applicable, all city notices at 417 Rentals,

                    LLC, 5759 W. US Highway 60, Brookline, MO 65619; and,




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              b. notify the city in writing where he can receive city notices every

                 time he has an address change.

        3. Dangerous Buildings. Within 72 hours of receiving a letter of

           condition about a dangerous building, Chris Gatley will personally:

              a. communicate in writing with the inspector that signed the letter

                 of condition that he has received the letter;

              b. state whether he agrees with the letter and if he:

                      i. agrees, the steps he will take to abate the dangerous

                        conditions, which steps will include:

                           1. within another 72 hours, written proof that he has a

                              contract with a dangerous-building contractor who

                              will acquire applicable demolition, board-up,

                              building, electrical, plumbing, mechanical, and

                              other permits and perform code-compliant work;

                           2. for a demolition, proof that, within another 7 days,

                              the property is razed and clean of all debris;

                           3. for a non-demolition, an invitation to the inspector

                              involved    to    inspect   all    dangerous-building




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                                 abatements performed, which inspection Mr. Gatley

                                 will personally attend;

                      ii. disagrees, the points of disagreement, which must be:

                              1. made in good faith; and,

                              2. based on code standards, not personal, subjective

                                 standards.

        4. Nuisance Conditions. Within 72 hours of receiving a check list of

           nuisance conditions on a property Chris Gatley controls, Mr. Gatley

           will personally:

              a. communicate in writing with the inspector that signed the check

                 list that he has received it;

              b. state whether he agrees with the letter and if he:

                      i. agrees, the steps he will take to abate the nuisance

                         conditions, which steps will include:

                              1. his timeline for cleanup;

                              2. proof that he has contacted a nuisance-abatement

                                 contractor   and   the      arrangements   made     for

                                 abatement;




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                               3. an invitation to the inspector involved to inspect all

                                  nuisance abatements performed, which inspection

                                  Mr. Gatley will personally attend;

                      ii. disagrees, the points of disagreement, which points must

                         be:

                               1. made in good faith; and,

                               2. based on code standards, not personal, subjective

                                  standards.

        5. Property Maintenance. Within 72 hours of receiving a letter of

           property-maintenance-code violations on a property Chris Gatley

           controls, Mr. Gatley will personally:

              a. communicate in writing with the inspector that signed the letter

                 that he has received it;

              b. state whether he agrees with the letter and if:

                      i. he agrees, the steps he will take to comply with property-

                         maintenance codes, which steps will include:

                               1. his timeline for effecting maintenance;




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                             2. proof that he has contacted a property-maintenance

                                contractor   and    the     arrangements   made     for

                                maintenance;

                             3. an invitation to the inspector involved to inspect all

                                property maintenance performed, which inspection

                                Mr. Gatley will personally attend;

                      ii. he disagrees, the points of disagreement, which points

                          must be:

                             1. made in good faith; and,

                             2. based on code standards, not personal, subjective

                                standards.

        6. Overgrowth. Within 24 hours of receiving an overgrowth letter about

           any property Mr. Gatley controls, Mr. Gatley will, personally or by

           agent:

              a. mow and weedeat such property; and,

              b. remove poke weed, poison ivy, poison oak, and poison sumac,

                    and remove all other rank vegetation.

        7. Tenant Occupancy. Upon moving into a property Mr. Gatley controls,

           if a tenant discovers a deficiency, i.e., an unworkable furnace, etc., and


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           the tenant does not wish to remain because of that condition, Mr. Gatley

           will return any security deposit, but only if notified within 72 hours of

           the tenant’s occupancy. Mr. Gatley will include appropriate language

           in applicable rental agreements, which he will also file with the court.

        8. Inspections. Before Mr. Gatley allows a tenant to move into any

           property Mr. Gatley controls, Mr. Gatley will:

              a. invite a city inspector, in writing, to inspect the property to

                 ensure it complies with current mechanical, electrical, plumbing,

                 structural, and other applicable codes; and,

              b. allow the tenant to move in only with the inspector’s written

                 consent certifying that the property is safe and code compliant;

                 or,

              c. be free to allow the tenant to move in if the inspector does not

                 conduct the inspection within 72 hours of the written request.

        9. Portfolio Reductions. By:

              a. December 31, 2018, Chris Gatley personally, through 417, or

                 through any other entity, will own or control 100 fewer rental

                 living units than owned or controlled on August 25, 2017;




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             b. December 31, 2019, Chris Gatley personally, through 417, or

                through any other entity, will own or control 200 fewer rental

                living units than owned or controlled on August 25, 2017;

             c. December 31, 2020, Chris Gatley personally, through 417, or

                through any other entity, will own or control 300 fewer rental

                living units than owned or controlled on August 25, 2017;

             d. the closing of this bankruptcy, Chris Gatley personally, through

                417, or through any other entity, will own or control no more

                than 25 rental living units.


                                    CITY OF SPRINGFIELD, MISSOURI

                                          /s/ Duke McDonald
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                                   Service Certificate

I certify that on June 28, 2018, the foregoing document was filed with the Court

under its ECF System and was served on said date by electronic mail directed to all

parties entitled to electronic notice.



                                                              /s/ Duke McDonald
                                                         Duke McDonald




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